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Exhibit O
Case 2:16-cr-00155-JLL Document 14-18 Filed 07/14/16 Page 2 of 3 PagelD: 232

Tuesday, May 24, 2016 at 12:46:52 PM Eastern Daylight Time

Subject: Fwd: Target- I'm concerned

Date: Friday, March 14, 2014 at 9:37:18 PM Eastern Daylight Time
From: Adam Ford

To: Gurbir S. Grewal

Sent from my iPhone

Begin forwarded message:

From: Guy Gentile <guy@stockusainc.com>
Date: March 14, 2014 at 8:48:45 PM EDT

To: Adam Ford <aford@harrisobrien.com>, "Adam C. Ford" <adamcford@gmail.com>
Subject: Target- I'm concerned

 

Shams Patel: Yo
Shams Patel: Funny inquiry came in on that private placement you were supposed to do with that oil
company from the FBI

Guy Gentile: When?

Shams Patel: You dont know?

Guy Gentile: Which symbol? Where can | find the info

Guy Gentile: Not the one I'm working on?

Guy Gentile: Fuck please no that one

Shams Patel: Buddy what ru talking about you and your friend ron were going to doa wire. They are
inquiring about your wire and why you were making the wire and what was it for.
Guy Gentile: What are you talking about? HPBE?

Guy Gentile: | don't see any news on it

Guy Gentile: Ohh sorry | miss understood what you were referring too. But now I'm more worried.
What and why are they asking

Shams Patel: Do u kno what im talking about now

Shams Patel: Theres something fucked up on your end....

Guy Gentile: Yes,

Guy Gentile: I'm a bit scared right now

Shams Patel: So is it your friend? Or?

Guy Gentile: | don't know how this could of happened

Guy Gentile: What should | do

Shams Patel: Lol. | hope your not playing me.

Guy Gentile: | hope your joking.

Guy Gentile: Because that really stressed me out just now

Guy Gentile: | have 5 new grey hairs

Shams Patel: Im not joking about anything ive told u

Guy Gentile: You have to be. Because it's doesn't make since

Guy Gentile: Sense

Guy Gentile: Why would any one ask why | didn't do a wire?

Shams Patel: | swear to god

Guy Gentile: That's just too crazy for me to believe

Guy Gentile: How did they ask?

Guy Gentile: Letter or phone

Shams Patel: Phone

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Guy Gentile: Who would they even call

Shams Patel: phone the bank direct.

Guy Gentile: So you saying the fbi called the bank to ask why I didn't send a wire?
Guy Gentile: That's stupid

Guy Gentile: | can see if | sent it, maybe someone asking

Shams Patel: Call me

Guy Gentile: Not trusting this phone after this. I'm going get a new one in AM. Then I'll call you.
Shams Patel: This is not a joke btw

Guy Gentile: Grill who ever told you this to get more details

Guy Gentile: When did you find out

Guy Gentile: Did they say my name?

Sent from my iPhone

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